USCA4 Appeal: 24-2073   Doc: 18        Filed: 02/20/2025      Pg: 1 of 33




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                                     RECORD NO. 24-2073
                                     __________________

                         IN THE UNITED STATES COURT OF APPEALS
                                FOR THE FOURTH CIRCUIT
                                  __________________

                                  RICHARD P. HARROLD,

                                       Plaintiff-Appellant,

                                                v.

                        LEWIS J. HAGEN III, individually and in his
                        official capacity as an Officer of the Chesterfield
                                    County Police Department,

                                      Defendant-Appellee.
                                     __________________

                        On appeal from the United States District Court
                        for the Eastern District of Virginia at Richmond
                                 Civil Action No.: 3:23-cv-866
                                     __________________

                               APPELLANT’S REPLY BRIEF
                                   __________________


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USCA4 Appeal: 24-2073   Doc: 18       Filed: 02/20/2025   Pg: 2 of 33




                                  TABLE OF CONTENTS

        Table of Contents……………………………………………………………….i

        Table of Authorities………………………………………………………….….iii

        INTRODUCTION …………………………………………………………………1

        ARGUMENT ……………………………………………...………………………3

              Several arguments by Appellee cannot be considered in the
              absence of a cross-appeal……………………………………………...….3

              Mr. Harrold’s rights were clearly established by core
              constitutional principles even if this Court does not find
              preexisting caselaw decided under sufficiently similar facts.………….…4

              The District Court erred in relying solely on cases from this
              Circuit involving K-9 warnings while seemingly ignoring
              applicable core constitutional principles, including those
              set forth in cases involving weapons other than police dogs……………..7

              Officer Hagen misconstrues the Graham v. Connor standard
              by focusing on inapplicable facts and time periods,
              speculation, incorrect factual assertions……………………………….…10

              Officer Hagen’s nonsensical attempt to distinguish applicable
              cases does not negate the existence of clearly established
              precedent, core constitutional principles, and persuasive
              authority from other circuits………………………………………………17

              Officer Hagen’s actions were plainly incompetent such
              that he is not entitled to the benefit of qualified immunity……………..…20

              Officer Hagen did not carry his burden of proof to show
              that Mr. Harrold’s right at issue was not clearly established…………...…23




                                               i
USCA4 Appeal: 24-2073   Doc: 18   Filed: 02/20/2025   Pg: 3 of 33




        CONCLUSION……………………………………………………………………...23

        Certificate of Compliance………………………………………………………..25

        Certificate of Service……………………………………………………………..26




                                           ii
USCA4 Appeal: 24-2073   Doc: 18      Filed: 02/20/2025   Pg: 4 of 33




                                  TABLE OF AUTHORITIES


        Cases

        Adams v. City of Cedar Rapids,
             74 F.4th 935 (8th Cir. 2023)………………………………………………21

        Atkinson v. Godfrey,
              100 F.4th 498 (4th Cir. 2024)……………………………………………..21

        Bailey v. Kennedy,
              349 F.3d 731, 744-45 (4th Cir. 2003)…………………………………...10

        Benton v. Layton,
             2023 WL 3727934 (E.D. Va. May 30, 2023)…………………………....21

        Best v. Farr,
               2023 WL 2975648 (Va. Ct. App. April. 18, 2023)…………………..…..21

        Booker v. S.C. Dep’t of Corr.,
             855 F.3d 533, 543 (4th Cir. 2017)……………………………………..…4

        Brandon Chrishon Polk v. Stanly Cnty.,
             2024 WL 1287372 (M.D. N.C. Feb. 23, 2024)……………………….…21

        Bryant v. City of Cayce,
             332 Fed. Appx. 129, 132 (4th Cir. 2009)……………………………..….23

        Coffin v. United States,
              156 U.S. 432, 453 (1895)…………………………………………………1

        Cowles v. Peterson,
             344 F. Supp. 2d 472, 483 (E.D. Va. 2004)………………………….……..6

        Cromartie v. Billings,
             298 Va. 284, 305–06 (2020)………………………………………………6

        Dean v. McKinney,
             976 F.3d 407, 419 (4th Cir. 2020)……………………………………….4, 5

                                             iii
USCA4 Appeal: 24-2073   Doc: 18   Filed: 02/20/2025   Pg: 5 of 33




        Edwards v. City of Goldsboro,
             178 F.3d 231, 251 (4th Cir. 1999)…………………………………………4

        Elliott v. Leavitt,
               99 F.3d 640, 643 (4th Cir. 1996)……………………………………..10, 15

        Estate of Armstrong ex rel. Armstrong v. Vill. of Pinehurst,
              810 F.3d 892, 905 (4th Cir. 2016)……………………………………10, 11

        Doriety for Estate of Crenshaw v. Sletten,
              109 F.4th 670, 679–80 (4th Cir. 2024)……………………………………3

        Graham v. Connor,
             490 U.S. 386 (1989)…………………………………………………passim

        Jean v. Collins,
              155 F.3d 701, 708 (4th Cir.1998)…………………………………………4

        Jennings v. Stephens,
              574 U.S. 271, 272 (2015)…………………………………………………4

        Jones v. Buchanan,
              325 F.3d 520, 531-35 (4th Cir. 2003)………………………………..……6

        Keenan v. Ahern,
             524 F. Supp. 3d 472, 482 (E.D. Va. 2021)…………………………8, 17, 22

        Kopf v. Wing,
              942 F.2d 265, 268 (4th Cir. 1991)……………………………………passim

        Krein v. Price,
              596 Fed. Appx. 184, 189 (4th Cir. 2014)……………………………11, 12

        Maciariello v. Sumner,
             973 F.2d 295, 298 (4th Cir. 1992)………………………………….……22

        Malley v. Briggs,
              475 U.S. 335, 341 (1986)…………………………………………..……22



                                          iv
USCA4 Appeal: 24-2073   Doc: 18   Filed: 02/20/2025   Pg: 6 of 33




        Maney v. Garrison,
             681 Fed. Appx. 210 (4th Cir. 2017)…………………………………18, 19

        Melgar ex rel. Melgar v. Greene,
             593 F.3d 348, 363 (4th Cir. 2010)……………………………….……8, 18

        Meyers v. Baltimore Cnty., Md.,
             713 F.3d 723, 734 (4th Cir. 2013)…………………..………….8, 9, 10, 18

        M.Y.M, by & through Portillo v. Chavis,
             582 F. Supp. 3d 323, 339 (E.D. Va. 2022)……………………11, 14, 16, 19

        Nesbitt v. City of Greensville,
              2025 WL 274619 (D.S.C. Jan. 23, 2025)…………………………………21

        Omeish v. Kincaid,
             86 F.4th 546 (4th Cir. 2023)…………………………………...……………21

        Orem v. Rephann,
             523 F.3d 442, 448–49 (4th Cir. 2008)……………………….…………22, 23

        Owens v. Lott,
             372 F.3d 267, 279 (4th Cir. 2004)………………………………..………4, 5

        Pearson v. Callahan,
             555 U.S. 223, 244 (2009)………………………………………….………22

        Putnam v. Harris,
             66 F.4th 181 (4th Cir. 2023)…………………………………………………21

        Rambert v. Harris,
             107 F.4th 388 (4th Cir. 2024)…………………………………..……………21

        Robinette v. Barnes,
             854 F.2d 909 (6th Cir. 1988)……………………………………………17, 20

        Rowland v. Perry,
             41 F.3d 167 (4th Cir. 1994)……………………………………..……6, 11, 19




                                           v
USCA4 Appeal: 24-2073   Doc: 18   Filed: 02/20/2025   Pg: 7 of 33




        Saucier v. Katz,
              533 U.S. 194 (2001)…………………………………………………………3

        Schoonover v. Clay Cnty. Sheriff’s Dep’t.,
             2023 WL 4026091 (4th Cir. June 15, 2023)…………………...……………21

        Smith v. Murphy,
              634 Fed. Appx. 914 (4th Cir. 2015)…………………………….………11, 19

        Smith v. Ray,
              781 F.3d 95, 104 (4th Cir. 2015)…………………………………6, 11, 14, 19

        Taylor v. Kentucky,
              436 U.S. 478, 483 (1978)……………………………………………………1

        Thompson v. Commonwealth,
             878 F.3d 89, 98 (4th Cir. 2017)…………………………………...…………7

        Thompson v. Gansler,
             734 Fed. Appx. 846, 853 (4th Cir. 2018)……………………………………4

        United States v. Am. Ry. Express Co.,
              265 U.S. 425, 435 (1924)……………………………………………………4

        Vathekan v. Prince George’s Cnty.,
              154 F.3d 173, 178 (4th Cir. 1998)…………………………..…………passim

        Waterman v. Batton,
             393 F.3d 471, 481 (4th Cir. 2005)……………………………...………12, 22

        Williamson v. Stirling,
              912 F.3d 154, 187 (4th Cir. 2018)………………………………...…………5

        Other

        Fourth Amendment to United States Constitution………………...…………5, 9, 17

        Merriam–Webster's Collegiate Dictionary (11th ed.2007)…………...……………8




                                          vi
USCA4 Appeal: 24-2073     Doc: 18            Filed: 02/20/2025   Pg: 8 of 33




                                 APPELLANT’S REPLY BRIEF

              Richard P. Harrold (“Mr. Harrold” or “Appellant”), by counsel, respectfully

        submits this reply brief in support of his appeal from the Final Order (JA64) of the

        United States District Court for the Eastern District of Virginia – Richmond Division

        (“District Court”) dismissing this case on the basis of qualified immunity in favor of

        the defendant-appellee, Lewis J. Hagen III (“Officer Hagen” or “Appellee”).

                                        I.       INTRODUCTION

              Officer Hagen seems to have forgotten that in America every suspect is

        presumed innocent until proven guilty. See generally Taylor v. Kentucky, 436 U.S.

        478, 483 (1978) citing Coffin v. United States, 156 U.S. 432, 453 (1895) (“The

        principle that there is a presumption of innocence in favor of the accused is the

        undoubted law, axiomatic and elementary, and its enforcement lies at the foundation

        of the administration of our criminal law.”). At the time of his arrest on December

        26, 2021, Mr. Harrold was presumed to be innocent. Officer Hagen’s primary duty

        was to respond to the alarm at the car dealership, investigate the situation, search for

        a suspect, determine if there was probable cause for an arrest and, if so, make the

        arrest. Unfortunately, after locating Mr. Harrold, Officer Hagen deployed his K-9

        police dog, “Kona”, to make the arrest in a violent and bloody manner when there

        was absolutely no need to use such serious and injurious force.




                                                      1
USCA4 Appeal: 24-2073      Doc: 18        Filed: 02/20/2025     Pg: 9 of 33




              In an effort to justify his actions retrospectively, Officer Hagen misconstrues

        applicable law, cites a number of irrelevant cases, and spins the facts to the point of

        absurdity. Like the District Court, Officer Hagen focuses almost exclusively on the

        K-9 warnings given as the officers searched for Mr. Harrold, but this case is not

        dependent on the sufficiency of warnings. This is not a case in which an officer

        warns that a K-9 is going to be released and thereafter releases the dog and allows it

        to run freely to search for a missing suspect. Officer Hagen did not release Kona

        from its leash but rather used the K-9 on a leash as a weapon to make the arrest.

        Despite Officer Hagen’s best efforts to reform the facts, it is clear that at the relevant

        time (i.e., the moment of the arrest), Mr. Harrold was not actively fleeing, and he did

        not pose a threat of immediate injury to Officer Hagen or anyone else. Under the

        circumstances, it is clearly established that the level of force used in this case was

        excessive. Officer Hagen’s attempt to distinguish existing caselaw is unavailing

        because a right can be clearly established in the absence of a factually similar case.

        The Fourth Amendment prohibits excessive force by police officers, and it matters

        not what the implement of force is. Here it was an aggressive and apparently poorly

        trained K-9, but principles from cases involving guns, tasers, batons, and other

        weapons are equally applicable to the facts presented. Mr. Harrold’s right to be free

        from a violent K-9 attack under the circumstances is also manifestly apparently from

        fundamental, core constitutional principles. Moreover, Officer Hagen’s actions



                                                    2
USCA4 Appeal: 24-2073      Doc: 18        Filed: 02/20/2025     Pg: 10 of 33




        were incompetent to the point that he is not entitled to qualified immunity. For the

        reasons that follow, the District Court’s decision should be reversed.

                                           II.   ARGUMENT

              A.     Several arguments by Appellee cannot be considered in the
                     absence of a cross-appeal.

              In his brief, Officer Hagen advances several arguments that have been waived

        due to his failure to file a cross-appeal. For example, Officer Hagen argues the

        District Court failed in its analysis under Graham v. Connor, 490 U.S. 386 (1989),

        by not accounting for certain facts appropriately established by the body-worn

        camera (“BWC”) video.1 (Brief of Appellee, at 12, ECF Doc. No. 12.) Officer

        Hagen also contends the District Court erred in its analysis of the first prong of the

        test from Saucier v. Katz, 533 U.S. 194 (2001), and erred in concluding it was

        plausible that Officer Hagen’s use of force was objectively unreasonable. (Id. at 12-

        13.) In doing so, Officer Hagen is attempting to enlarge his rights under the District



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          Officer Hagen also seems to believe that the entirety of the BWC video could be
        considered because he spends considerable time discussing and spinning what the
        video depicts. (Brief of Appellee, at 1-8, ECF Doc. No. 14.) In fact, the BWC
        video could only be considered at the motion to dismiss stage “when (1) the video
        is ‘integral’ to the complaint and its authenticity is not challenged, but (2) only to
        the extent that the video ‘clearly depicts a set of facts contrary to those alleged in the
        complaint,’ or ‘blatantly contradicts’ the plaintiff’s allegations, rendering the
        plaintiff’s allegations implausible.” Doriety for Estate of Crenshaw v. Sletten, 109
        F.4th 670, 679–80 (4th Cir. 2024). In considering a motion to dismiss, a court “must
        credit the plaintiff’s version of the facts to the extent they are not ‘blatantly
        contradicted’ by the recording.” Id. at 680 (citations omitted).

                                                    3
USCA4 Appeal: 24-2073     Doc: 18        Filed: 02/20/2025    Pg: 11 of 33




        Court’s Memorandum Opinion and Final Order and lessen Mr. Harrold’s rights.

        Such arguments are not allowed by an appellee who has not filed a cross-appeal.

        Thompson v. Gansler, 734 Fed. Appx. 846, 853 (4th Cir. 2018) citing Jennings v.

        Stephens, 574 U.S. 271, 272 (2015) and United States v. Am. Ry. Express Co., 265

        U.S. 425, 435 (1924). These arguments by Officer Hagen, including the discussion

        about the second Graham factor, (Brief of Appellee, at 22-28, ECF Doc. No. 12),

        have been waived because a cross-appeal was not filed, and they cannot now be

        considered on appeal.

              B.     Mr. Harrold’s rights were clearly established by core
                     constitutional principles even if this Court does not find
                     preexisting caselaw decided under sufficiently similar facts.

              In this Circuit, a right is clearly established if: (1) “a general constitutional

        rule already identified in the decisional law applies with obvious clarity,” Booker v.

        S.C. Dep’t of Corr., 855 F.3d 533, 543 (4th Cir. 2017); (2) the right is “manifestly

        apparent from broader applications of the constitutional premise in question,” Owens

        v. Lott, 372 F.3d 267, 279 (4th Cir. 2004); or (3) the right is “manifestly included

        within more general applications of the core constitutional principles invoked,”

        Dean v. McKinney, 976 F.3d 407, 419 (4th Cir. 2020). This Court holds “the

        nonexistence of a case holding the defendant’s identical conduct to be unlawful does

        not prevent the denial of qualified immunity.” Edwards v. City of Goldsboro, 178

        F.3d 231, 251 (4th Cir. 1999) citing Jean v. Collins, 155 F.3d 701, 708 (4th Cir.1998)



                                                  4
USCA4 Appeal: 24-2073     Doc: 18        Filed: 02/20/2025    Pg: 12 of 33




        (en banc); see also Owens, 372 F.3d at 279 (holding “the exact conduct at issue need

        not have been held unlawful for the law governing an officer’s actions to be clearly

        established. And the absence of controlling authority holding identical conduct

        unlawful does not guarantee qualified immunity.”) (internal citations and quotations

        omitted).   Public officials “can still be on notice that their conduct violates

        established law even in novel factual circumstances, so long as the law provided fair

        warning that their conduct was wrongful.” Williamson v. Stirling, 912 F.3d 154, 187

        (4th Cir. 2018) (internal quotation marks omitted); see also Dean, 976 F.3d at 418

        (affirming a denial of qualified immunity based on “core constitutional principles

        set forth in numerous cases” even though the court had yet to “consider a case where

        an officer engaged in the same conduct as [the defendant], he [was] not absolved of

        liability solely because the court has not adjudicated the exact circumstances of his

        case.”).

              With regard to the facts of this case, there is direct, on-point binding authority

        from Vathekan and Kopf, two decisions that set forth the applicable core

        constitutional principle, that is, “[a]n attack by an unreasonably deployed police dog

        in the course of a seizure is a Fourth Amendment excessive force violation.”

        Vathekan v. Prince George’s Cnty., 154 F.3d 173, 178 (4th Cir. 1998), Kopf v. Wing,

        942 F.2d 265, 268 (4th Cir. 1991). More generally, it is clearly established and a

        core constitutional principle that an officer’s right to use any force in effecting an



                                                  5
USCA4 Appeal: 24-2073       Doc: 18        Filed: 02/20/2025    Pg: 13 of 33




        arrest is severely limited unless the individual being arrested poses an objective

        threat. Cowles v. Peterson, 344 F. Supp. 2d 472, 483 (E.D. Va. 2004) citing Jones

        v. Buchanan, 325 F.3d 520, 531-35 (4th Cir. 2003). This Court has denied qualified

        immunity when an officer unnecessarily escalates an encounter using significant

        physical force even in the absence of factually similar preexisting caselaw:

                Our determination that the officer was not entitled to qualified
                immunity in Rowland2 was not based on any case that was factually on
                all fours. Rather, it was based on the simple fact that the officer took a
                situation where there obviously was no need for the use of any
                significant force and yet took an unreasonably aggressive tack that
                quickly escalated it to a violent exchange when the suspect instinctively
                tried to defend himself.

        Smith v. Ray, 781 F.3d 95, 104 (4th Cir. 2015) (emphasis added). In considering

        qualified immunity, the District Court erred in restricting its view to only Vathekan

        and Kopf when it was a “simple fact” and a core constitutional principle that an

        officer may not use significant force when there is no need for it. The same

        constitutional principle has been recognized by Virginia’s highest state court prior

        to December 26, 2021 in the decision in Cromartie v. Billings, 298 Va. 284, 305–06

        (2020). See Appellant’s Brief, at 34-40, for a more detailed discussion.




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            Rowland v. Perry, 41 F.3d 167 (4th Cir. 1994).

                                                    6
USCA4 Appeal: 24-2073    Doc: 18        Filed: 02/20/2025    Pg: 14 of 33




              C.     The District Court erred in relying solely on cases from this
                     Circuit involving K-9 warnings while seemingly ignoring
                     applicable core constitutional principles, including those set forth
                     in cases involving weapons other than police dogs.

              In considering whether the right at issue was clearly established, the District

        Court relied solely on Vathekan and Kopf to resolve the question of whether a

        warning about the K-9 was given. (Memo. Op. at 21, JA60.) This is somewhat

        understandable because those are two main decisions from this Circuit addressing

        claims of excessive force involving police K-9s. However, it was error for the court

        below to end its inquiry there and not consider whether the use of the K-9 under the

        circumstances of this case was excessive notwithstanding any warning. It was also

        error for the District Court not to consider whether Mr. Harrold’s right was clearly

        established by general constitutional principles or persuasive authority from other

        circuits. See Thompson v. Commonwealth, 878 F.3d 89, 98 (4th Cir. 2017) (“In the

        absence of ‘directly on-point, binding authority,’ courts may also consider whether

        ‘the right was clearly established based on general constitutional principles or a

        consensus of persuasive authority.’”) (internal quotations omitted).

              It was not dispositive that one or more warnings were given about K-9 Kona

        although the District Court found it was. See Memo. Op., at 21, JA60. Deployment

        of a police dog can be unreasonable and excessive force even when a pre-deployment




                                                 7
USCA4 Appeal: 24-2073     Doc: 18        Filed: 02/20/2025    Pg: 15 of 33




        warning is given.3 Failing to give a prior warning is not the only way a K-9 can be

        improperly deployed. See Keenan v. Ahern, 524 F. Supp. 3d 472, 482 (E.D. Va.

        2021) quoting Meyers v. Baltimore Cnty., Md., 713 F.3d 723, 734 (4th Cir. 2013)

        (finding “one could easily imagine other scenarios in which, notwithstanding a prior

        warning, the deployment of a police dog would be entirely unreasonable and without

        question a violation of clearly established law as a reasonable officer would plainly

        know that such conduct is unlawful—even in ‘the absence of a judicial decision [so]

        holding.’”). (See Appellant’s Brief at 31, ECF Doc No. 12.) This is such a case.

        Even with Officer Hagen’s apparent warnings, the deployment and use of the K-9

        was improper and objectively unreasonable under the circumstances existing at the

        moment of Mr. Harrold’s arrest.4



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          Notably, the record, even as amplified by the BWC, does not establish Mr. Harrold
        heard any warnings. Because this issue is unresolved, the District Court’s dismissal
        of the case was improper. See Vathekan, 154 F.3d at 18 (quoting Kopf, 942 F.2d at
        266 (“where the fact that civilian witnesses ‘heard no such warning’ was enough for
        the plaintiffs to survive summary judgment on the issue of whether a warning was
        given.”). Even if appropriate warnings were given and heard and understood by
        Mr. Harrold, it does not end the inquiry because an officer can be liable for excessive
        force caused by a police K-9 even after warnings are given. And it bears repeating
        that the District Court found, “it is plausible that Officer Hagen’s use of force was
        objectively unreasonable for failing to issue a final warning before deploying Kona.”
        (Memo. Op., at 20, JA59.).
        4
          “‘Deployment,’ of course, refers to the arrangement or use of a thing or force for a
        ‘deliberate purpose.’” Melgar ex rel. Melgar v. Greene, 593 F.3d 348, 363 (4th Cir.
        2010) (Michael, J, dissent and concurring in part) citing Merriam–Webster's
        Collegiate Dictionary (11th ed.2007). Under this definition, a K-9 is deployed when
        it is used, whether on or off its leash.

                                                  8
USCA4 Appeal: 24-2073     Doc: 18        Filed: 02/20/2025    Pg: 16 of 33




              Similarly, it was error for the District Court to only review cases involving

        police K-9s because it is clearly established that if an officer uses significant force

        when the circumstances do not require it, such actions constitute excessive force in

        violation of the Fourth Amendment, and it matters not what kind of weapon was

        used. The method of force, whether by firearm, stun gun, baton, or K-9, is not

        dispositive. Meyers, 713 F.3d at 734–35 (“The fact that the force used in the present

        case emanated from a taser, rather than from a more traditional device, is not

        dispositive. The use of any ‘unnecessary, gratuitous, and disproportionate force,’

        whether arising from a gun, a baton, a taser, or other weapon, precludes an officer

        from receiving qualified immunity if the subject is unarmed and secured.”) (internal

        citations omitted). A police K-9 is a weapon just like any other police tool. (See

        Appellant’s Brief at 39, fn. 9, ECF Doc No. 12.) The Court’s ruling applies to

        “serious injurious force” such as a taser, but it also covers K-9s. Unquestionably a

        K-9 can inflict serious injuries, and Appellee does not contest the extent of Mr.

        Harrold’s severe injuries as alleged.

              In Meyers, this Court noted that it had “repeatedly held that it is not required

        that a right violated have been recognized by a court in a specific context before such

        right may be held ‘clearly established’ for the purposes of qualified immunity” and

        noted that it had stated in “forthright terms that ‘officers using unnecessary,

        gratuitous, and disproportionate force to seize a secured, unarmed citizen, do not act



                                                  9
USCA4 Appeal: 24-2073     Doc: 18        Filed: 02/20/2025   Pg: 17 of 33




        in an objectively reasonable manner and, thus, are not entitled to qualified

        immunity.’” Meyers, 713 F.3d at 734 (quoting Bailey v. Kennedy, 349 F.3d 731,

        744-45 (4th Cir. 2003)). See Appellant’s Brief, at 32, ECF Doc. No. 12, for a more

        detailed discussion.

               For these reasons, the District Court did not perform a complete analysis of

        the clearly established issue and erred in not considering whether Mr. Harrold’s right

        was clearly established by core constitutional principles or persuasive authority from

        other circuits.

               D.     Officer Hagen misconstrues the Graham v. Connor standard by
                      focusing on inapplicable facts and time periods, speculation,
                      incorrect factual assertions.

               This Court holds that “Graham requires us to focus on the moment force was

        used; conduct prior to that moment is not relevant in determining whether an officer

        used reasonable force.”     Elliott v. Leavitt, 99 F.3d 640, 643 (4th Cir. 1996).

        Therefore, Officer Hagen’s argument about Mr. Harrold breaking the glass door,

        possibility using a “weapon or tool” to break the glass and going upstairs in the

        building away from officers is completely irrelevant. At the moment Officer Hagen

        deployed the K-9, Mr. Harrold was laying still on the floor and presented no

        immediate danger to cause injury nor was he risk to flee. But even if he was resisting

        arrest by laying on the floor, it was clearly established Officer Hagen could not use

        the level of force that he used when he deployed the K-9. See Estate of Armstrong



                                                 10
USCA4 Appeal: 24-2073     Doc: 18         Filed: 02/20/2025    Pg: 18 of 33




        ex rel. Armstrong v. Vill. of Pinehurst, 810 F.3d 892, 905 (4th Cir. 2016) (“At

        bottom, “physical resistance” is not synonymous with “risk of immediate danger.”).5

              Officer Hagen continues to feign ignorance about when extreme force can be

        used in an arrest even though his employer’s policies clearly delineate it. No where

        is this more evident than when Officer Hagen argues, “The mere fact that the suspect

        is no longer actively searching for an exit to flee through or is changing his hiding

        places is not indicative of a suspect who is no longer a threat.” (Brief of Appellee,

        at 23, ECF Doc. No. 12.) But the law is clearly established that when a suspect is

        no longer actively fleeing and not an immediate threat, the use of extreme force, such

        as that involved in this case, is unreasonable. A prior threat of harm does not justify

        a significant use of force once that harm is no longer present. For example, in Krein

        v. Price, the Fourth Circuit found an officer was justified in shooting at a suspect

        while the suspect was driving a vehicle in the direction of officers but shooting at

        the vehicle after it had passed them was excessive force, even though the suspect



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          “Fourth Circuit case law clearly establishes that reflexive, or ‘automatic,’ resistance
        is not uncommon, should be anticipated by police officers, and does not justify the
        use of substantial force in response absent some additional reason to believe that
        force is necessary.” M.Y.M, by & through Portillo v. Chavis, 582 F. Supp. 3d 323,
        339 (E.D. Va. 2022) (citing Smith v. Murphy, 634 Fed. Appx. 914 (4th Cir. 2015)
        (“As for the third Graham factor, resistance from Smith could be characterized as
        instinctive, and we have twice concluded that such reactions do not constitute active
        resistance.”) (citing Smith v. Ray, 781 F.3d 95 (4th Cir. 2015) and Rowland v. Perry,
        41 F.3d 167 (4th Cir. 1994))).


                                                   11
USCA4 Appeal: 24-2073     Doc: 18        Filed: 02/20/2025   Pg: 19 of 33




        was clearly actively fleeing at that point in time. Krein v. Price, 596 Fed. Appx.

        184, 189 (4th Cir. 2014) (“But even allowing Price some leeway to account for the

        tense, hurried nature of the incident cannot change the fact that the record contains

        numerous indications that a reasonable officer would have realized that deadly force

        was not necessary to protect himself or others when he was no longer in the direction

        of Krein’s vehicle.”); see also Waterman v. Batton, 393 F.3d 471, 481 (4th Cir. 2005)

        (“We therefore hold that force justified at the beginning of an encounter is not

        justified even seconds later if the justification for the initial force has been

        eliminated.”). A suspect should be able to change his mind about fleeing without

        getting mauled by a dog when he surrenders.

               Mr. Harrold was not actively resisting arrest or attempting to evade arrest by

        flight at the moment Officer Hagen gave his K-9 the command to seize and bite him.

        In light of the fact that Mr. Harrold was unarmed, not actively fleeing, cornered, and

        surrounded by law enforcement, this was not one of those situations in which Officer

        Hagen was “forced to make split-second judgments - in circumstances that are tense,

        uncertain, and rapidly evolving - about the amount of force that is necessary in a

        particular situation.” Graham, 490 U.S. at 397 (internal citations omitted). To the

        extent there was any justification for deploying the dog at the time Mr. Harrold was

        actively fleeing by walking around the building and up the stairs, it does not mean




                                                 12
USCA4 Appeal: 24-2073     Doc: 18        Filed: 02/20/2025      Pg: 20 of 33




        the same significant force was justified when Mr. Harrold was located, surrounded

        in the storage room, and no longer was a flight risk.

              Much of Officer Hagen’s attempt to justify his extreme use of force relies on

        pure speculation as opposed to information which was actually known to him. For

        instance, Officer Hagen claims that a “tool or weapon” was used to break the glass

        door because other officers used their batons to enlarge the hole. (Brief of Appellee,

        at 19, ECF Doc. No. 12.) There are no facts in the Complaint or in the BWC video

        to support Officer Hagen’s speculation. No weapon or tool is shown on the BWC,

        it is not alleged that any such tool or weapon was recovered, and, of course, a glass

        door can be broken in many different ways without a weapon or tool. Furthermore,

        a broken glass door does not provide a basis to think Mr. Harrold was armed when

        he was observed going up the stairs with nothing in his hand or on his person.

        Officer Hagen’s irrational and baseless fears do not justify his actions when he later

        encountered Mr. Harrold, especially when the BWC shows that none of the officers

        had any reason to be fearful at any time after they encountered Mr. Harrold. Despite

        Officer Hagen’s repeated assertions that Mr. Harrold was “armed” are simply untrue.

        A Sergeant with the Chesterfield County Police Department testified under oath at

        the preliminary hearing that Mr. Harrold was unarmed and there was no reason to

        think he was armed. (Compl. ¶ 55, JA11-12.) In fact, Mr. Harrold was unarmed, as

        alleged in the Complaint, and Officer Hagen had no reason to believe otherwise. (Id.



                                                 13
USCA4 Appeal: 24-2073      Doc: 18         Filed: 02/20/2025     Pg: 21 of 33




        ¶ 54, JA11.) A utility knife is not a weapon, and it was not located until Mr. Harrold

        was in custody and handcuffed. (Id. ¶ 21, JA7.) Mr. Harrold was unarmed but, in

        any event, a belief that a suspect is armed, without more, is insufficient to justify the

        use of significant force. M.Y.M., 582 F. Supp. 3d at 336 (“Fourth Circuit case law is

        clear that an officer cannot justify the use of force with the fear that a suspect may

        be armed where the officer can cite to no reason for thinking the detainee to be

        armed.”). In this case, Officer Hagen and the other officers did not even know about

        the utility knife until after the arrest so it could not justify the officer’s use of force.

        See Smith, 781 F.3d at 104-5.         Officer Hagen’s arguments in this regard are

        borderline asinine.

               In an effort to defend his extreme and unwarranted use of force, Officer Hagen

        misstates and misconstrues the facts so badly that he crosses the line into fantasy.

        For instance, he says that “[i]t appears [on the BWC] Appellant had something

        stashed in the front pocket of his hoodie.” (Brief of Appellee, at 6, ECF Doc. No.

        12.) Of course, Officer Hagen does not disclose the truth - that there was no weapon

        in the front pocket of Mr. Harrold’s hooded sweatshirt or hoodie and, of course,

        hoodie pockets stick out by nature and can be used to carry innocuous items.

        Furthermore, as with the pocketknife, Officer Hagen observed the hoodie pocket

        after he had already sicced the K-9 on Mr. Harrold, so it does not provide a basis for

        the use of that extreme force.



                                                    14
USCA4 Appeal: 24-2073     Doc: 18        Filed: 02/20/2025   Pg: 22 of 33




              Unfortunately, at this point, Officer Hagen sounds less like a trained police

        officer and more like George Zimmerman who suspected Trayvon Martin was armed

        because he wore a hoodie. It is lawful to wear a hoodie. It is lawful to carry a

        pocketknife. It can be lawful to carry a concealed weapon. In order for a police

        officer to use any amount of force in making an arrest, there has to be an immediate

        risk of injury to the officer or another person. Wearing a hoodie or having a

        pocketknife that is concealed out of view and not brandished is not an immediate

        risk of injury to anyone. This Court should not give credence to Officer Hagen’s

        claim that he was scared for his safety when nothing in the Complaint or BWC

        provides any factual support for it.

              According to Officer Hagen, the prior attempt to flee means he is justified in

        using the K-9 to effect the violent, bloody arrest. Allowing the District Court’s

        ruling to stand would set a very dangerous precedent that would allow officers to

        use extreme force that is based facts that occurred in the past rather than the

        circumstances existing at the moment of the arrest. Officer Hagen’s position is the

        polar opposite of the holdings in Graham and Elliott which instruct courts to focus

        on the moment force was used because conduct prior to that moment is not relevant

        in determining whether an officer used reasonable force.

              It is important to note that Officer Hagen’s allegations about what he thought

        are not based on any evidence in the record, such as testimony, police reports or



                                                 15
USCA4 Appeal: 24-2073     Doc: 18        Filed: 02/20/2025   Pg: 23 of 33




        other documentary evidence. They are simply his (or more likely his counsel’s)

        arguments based on the BWC, but they lack factual, evidentiary support. At the

        same time, the District Court seemingly did not consider other facts properly in the

        record that establish Mr. Harrold was not a danger. For instance, Mr. Harrold is an

        amputee (missing his lower left leg below the knee) who also has serious a medical

        condition that can cause him to do things that are out of character, and he was having

        an episode caused by his condition. (Compl. ¶¶ 2, 31, JA4, 8.) To quote one of the

        officers, Mr. Harrold was a “tiny human with one leg” and he was cornered in a

        room with the only exit blocked by Officer Hagen in a building surrounded by law

        enforcement officers. (Compl. ¶¶ 22, 58, JA 7, 12). These facts are important to

        consider when determining whether the circumstances justified the level of force

        used. See M.Y.M., 582 F. Supp. 3d at 335 (discussing that “Fourth Circuit case law

        makes clear that a reasonable officer could and ought to take into account the 6–7-

        inch difference in height and the 70-pound difference in weight….”).

              These allegations in the Complaint are presumed correct for purposes of a

        motion to dismiss and there is no evidence to refute any of them. The District

        Court’s decision to resolve this case based on the meager record existing at the

        motion to dismiss stage means Mr. Harrold did not get an opportunity to explain

        whether he heard the K-9 warnings or understood what was transpiring, among other

        things. Now Officer Hagen contends that when he found Mr. Harrold, he assumed



                                                 16
USCA4 Appeal: 24-2073     Doc: 18        Filed: 02/20/2025      Pg: 24 of 33




        Mr. Harrold was armed and dangerous (a bald assumption), but Mr. Harrold just as

        easily could have been incapacitated in some way just like the unresponsive vehicle

        passenger in Keenan v. Ahern, 524 F.Supp.3d 472, 483 (E.D. Va. 2021). These are

        all valid reasons why this case should not have been decided as it was below, but

        rather at the summary judgment stage at the earliest.

              E.     Officer Hagen’s nonsensical attempt to distinguish applicable
                     cases does not negate the existence of clearly established
                     precedent, core constitutional principles, and persuasive authority
                     from other circuits.

              Officer Hagen’s argument about existing case precedent is frankly baffling.

        On the one hand, Officer Hagen would have us believe the Sixth Circuit’s decision

        in Robinette v. Barnes, 854 F.2d 909 (6th Cir. 1988) involves similar facts. (Brief of

        Appellee, at 24, ECF Doc. No. 12.) In that case, officers fully released a K-9 from

        its leash to allow the dog to search for a burglary suspect in a dark building. Officer

        Hagen says the Robinette case “is about as factually similar a case as one will find

        in the Fourth Amendment context[.]” (Brief of Appellee, at 41, fn. 6, ECF Doc. No.

        12.) But in reality, Officer Hagen did not release Kona from its leash but rather

        allowed the dog to attack while on the leash. So, the operative and material facts in

        Robinette are quite different. On the other hand, Officer Hagen tries to distinguish

        this Court’s decisions in Kopf and Vathekan by pointing out that those cases involved

        “the release of a K-9 off leash” and he says, “unlike in Kopf and Vathekan, Kona

        was on a lead held by Officer Hagen.” (Brief of Appellee, at 36-37, ECF Doc. No.


                                                  17
USCA4 Appeal: 24-2073     Doc: 18       Filed: 02/20/2025    Pg: 25 of 33




        12.) In fact, because Officer Hagen never relinquished control of the K-9, the issues

        presented are more analogous to cases involving officers using tasers and guns

        because, as with those weapons, Officer Hagen maintained complete control of Kona

        at all relevant times. Officer Hagen knowingly commanded the K-9 to “Packen”

        much as an officer would knowingly fire a gun or taser. Again, the type of weapon

        is not dispositive, and it is clearly established that unnecessary, gratuitous, or

        disproportionate force is excessive. Meyers, 713 F.3d at 734–35

              Two of the cases relied upon by Officer Hagen were decided prior to the

        subject incident involve police using K-9s on leashes to search for a suspect or

        missing person. Melgar ex rel. Melgar v. Greene, 593 F.3d 348 (4th Cir. 2010) and

        Maney v. Garrison, 681 Fed. Appx. 210 (4th Cir. 2017). In those cases, the K-9

        basically accidentally bit someone. In Maney, the police dog accidentally bit a

        homeless person who was camping in some bushes. In Melgar, the dog was being

        used to search for a missing thirteen-year-old boy and bit him instead. In contrast,

        the case at bar involves no accident because Officer Hagen intentionally deployed

        Kona to attack Mr. Harrell by giving him the command “Packen” which Appellee

        says is German for “seize, bite, or grab.” (Appellee’s Brief, at 6, ECF Doc. No. 14.)

        In these cases, this Court recognized:

              There is a vast difference between an officer releasing a dog off a leash
              knowing with a good degree of certainty that it will find and bite its
              target and an officer exercising substantial control over a leashed
              animal with the expectation of being able to prevent any injury.


                                                 18
USCA4 Appeal: 24-2073     Doc: 18        Filed: 02/20/2025     Pg: 26 of 33




        Melgar, 593 F.3d at 358; see also Maney, 681 Fed. Appx. at 216.

              Moreover, this Court recognizes that the question of whether or not a warning

        was given is not critical where an officer maintains control over the K-9, as Officer

        Hagen did. In the Melgar decision, this Court held:

              While the Vathekan and Kopf decisions do establish that a warning is
              necessary before releasing a dog [ ] this case does not involve that
              situation. Here, in fact, the officer expected his control over the animal
              by means of the leash would render any warning unnecessary.

        Melgar, 593 F.3d at 358 (internal citation omitted).

              In contrast to the allegations in the Complaint and what the BWC video shows

        about Mr. Harrold’s location and demeanor once located by Officer Hagen,

        Appellant contends Mr. Harrold was resisting arrest or attempting to flee. Based on

        existing case precedent, this argument is without merit. Fourth Circuit case law

        clearly establishes that “reflexive, or ‘automatic,’ resistance is not uncommon,

        should be anticipated by police officers, and does not justify the use of substantial

        force in response absent some additional reason to believe that force is necessary.”

        M.Y.M., 582 F. Supp. 3d at 339 (citing Smith v. Murphy, 634 Fed. Appx. 914 (4th

        Cir. 2015) (“As for the third Graham factor, resistance from Smith could be

        characterized as instinctive, and we have twice concluded that such reactions do not

        constitute active resistance.”) (citing Smith v. Ray, 781 F.3d 95 (4th Cir. 2015) and

        Rowland v. Perry, 41 F.3d 167 (4th Cir. 1994))).



                                                 19
USCA4 Appeal: 24-2073     Doc: 18        Filed: 02/20/2025   Pg: 27 of 33




              The case of Robinette v. Barnes involves a similar overall fact pattern in that

        a police dog was used by a K-9 officer named Barnes to apprehend a burglary suspect

        at a car dealership. 854 F.2d at 911. However, the K-9 in Robinette named “Casey”

        was used in such a different way from Officer Hagen’s K-9 that the case is

        inapplicable.6 In Robinette, the officers saw the suspect in a building, the suspect

        was actively fleeing, and the K-9 was turned loose. Id. (“As soon as Casey returned,

        Barnes gave the command, “Find him.” Barnes and the dog then began to search the

        building. The dog ran ahead of Barnes while the officer checked some closed doors

        that Casey bypassed.”). At the moment the dog was deployed and the force used,

        the K-9 officer was searching for a fleeing suspect and “attempt[ing] to arrest a

        suspect hidden inside an unfamiliar building during the nighttime.” 854 F.2d at 914.

        In contrast, Officer Hagen did not release his K-9 but rather kept the dog on a leash.

        When Officer Hagen commanded his K-9 to attack, he had already located Mr.

        Harrold, who was on the floor in a submissive and vulnerable position, in a well-lit

        room, surrounded by other officers, with no way to escape. Because Mr. Harrold

        was not an immediate threat to Officer Hagen or anyone else when the K-9 was

        ordered to bite, the use of force was excessive under the second Graham factor and

        clearly established precedent.



        6
          Besides the important factual distinctions, Robinette was decided on summary
        judgment instead of a motion to dismiss. 854 F.2d at 914.

                                                 20
USCA4 Appeal: 24-2073     Doc: 18        Filed: 02/20/2025     Pg: 28 of 33




              There are no identical cases (nor must there be for the clearly established

        analysis) and any cases can be distinguished from one another in some way. As

        discussed above, a right can be clearly established in the absence of a preexisting

        case decided on similar facts so it unnecessary to engage in Officer Hagen’s mental

        gymnastics to distinguish the cases discussed by Mr. Harrold. (See Appellant’s

        Brief, at 34-45, ECF Doc. No. 12.) The cases cited by Mr. Harrold from this Circuit

        and from the other circuits universally stand for the proposition that significant force

        cannot be lawfully deployed by an officer in the absence of a threat of immediate

        injury and the type of force deployed is not dispositive.7




        7
          Appellant acknowledges Appellee’s point that Adams v. City of Cedar Rapids, 74
        F.4th 935 (8th Cir. 2023), does not constitute preexisting precedent since it was
        decided after December 26, 2021. (See Brief of Appellee, at 44, ECF Doc. No. 14.)
        While Mr. Harrold mistakenly included one case decided after the relevant time
        period, Officer Hagen cited a plethora of cases decided after December 26, 2021
        which are likewise not relevant to the clearly established analysis, including the
        following: Atkinson v. Godfrey, 100 F.4th 498 (4th Cir. 2024); Benton v. Layton, 2023
        WL 3727934 (E.D. Va. May 30, 2023); Best v. Farr, 2023 WL 2975648 (Va. Ct.
        App. April. 18, 2023); Brandon Chrishon Polk v. Stanly Cnty., 2024 WL 1287372
        (M.D. N.C. Feb. 23, 2024); Nesbitt v. City of Greensville, 2025 WL 274619 (D.S.C.
        Jan. 23, 2025); Omeish v. Kincaid, 86 F.4th 546 (4th Cir. 2023); Putnam v. Harris, 66
        F.4th 181 (4th Cir. 2023); Rambert v. Harris, 107 F.4th 388 (4th Cir. 2024); and
        Schoonover v. Clay Cnty. Sheriff’s Dep’t., 2023 WL 4026091 (4th Cir. June 15,
        2023).


                                                  21
USCA4 Appeal: 24-2073     Doc: 18        Filed: 02/20/2025    Pg: 29 of 33




              F.     Officer Hagen’s actions were plainly incompetent such that he is
                     not entitled to the benefit of qualified immunity.

              “The principles of qualified immunity shield an officer from personal liability

        when an officer reasonably believes that his or her conduct complies with the law.”

        Pearson v. Callahan, 555 U.S. 223, 244 (2009). But qualified immunity does not

        protect “the plainly incompetent or those who knowingly violate the law.” Malley v.

        Briggs, 475 U.S. 335, 341 (1986); Waterman v. Batton, 393 F.3d 471, 476 (4th Cir.

        2005).

              In this case, it can be said that “deploying a police dog against a motionless,

        unresponsive, and outnumbered individual, who, in his physical state, has given

        police virtually no cause to suspect that he poses a risk of injury to others or will

        attempt to flee, cannot seriously be characterized as a permissive ‘bad guess[ ] in [a]

        gray area[.]’” Keenan, 524 F. Supp. 3d at 483 quoting Maciariello v. Sumner, 973

        F.2d 295, 298 (4th Cir. 1992). In addition to violating clearly established law,

        Officer Hagen’s actions violated the Chesterfield County Police Department’s own

        policy which “acknowledges that use of a K-9 to make physical contact with a

        suspect is a significant use of force and one that shall be done only in relatively

        serious situations and where lesser means of force are not available or reasonably

        practical.” (Compl. ¶ 63, JA10.) Overall, Officer Hagen’s use of the K-9 to bite Mr.

        Harrold was not for any legitimate purpose because there were nonviolent options

        of making the arrest. See Orem v. Rephann, 523 F.3d 442, 448–49 (4th Cir. 2008)


                                                  22
USCA4 Appeal: 24-2073     Doc: 18        Filed: 02/20/2025   Pg: 30 of 33




        (discussing that “the taser gun was not used for a legitimate purpose, such as

        protecting the officers, protecting Orem, or preventing Orem’s escape.”). Officer

        Hagen violated Mr. Harrold’s clearly established rights, and the District Court erred

        in finding otherwise.

              G.     Officer Hagen did not carry his burden of proof to show that Mr.
                     Harrold’s right at issue was not clearly established.

              On the question of whether Mr. Harrold’s right was clearly established at the

        relevant time, Officer Hagen bore the burden of proof. Bryant v. City of Cayce, 332

        Fed. Appx. 129, 132 (4th Cir. 2009). Officer Hagen failed to carry his burden of

        proof and, rather, Mr. Harrold showed it was clearly established that a violation of

        his constitutional rights occurred.

                                              III.   CONCLUSION

              For these reasons, the Complaint states a claim for excessive force and Mr.

        Harrold’s rights were clearly established such that Officer Hagen is not entitled to

        qualified immunity. The judgment of the District Court should be reversed.




                                                     23
USCA4 Appeal: 24-2073   Doc: 18         Filed: 02/20/2025   Pg: 31 of 33




                                              Respectfully submitted,
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                                                24
USCA4 Appeal: 24-2073    Doc: 18        Filed: 02/20/2025    Pg: 32 of 33




                                        CERTIFICATE OF COMPLIANCE

              In accordance with Rule 32(a) of the Federal Rules of Appellate Procedure

        and the Local Rules of the Fourth Circuit Court of Appeals, I hereby certify that:

              1.     This brief complies with the type-volume limitation of Fed. R. App. P.

        32(a)(7)(B) because it contains no more than 13,000 words. According to the word-

        processing system used to prepare the brief, Microsoft Word, it contains 6,194

        words.

              2.     This brief complies with the typeface requirements of Fed. R. App. P.

        32(a)(5) and the type-style requirements of Fed. R. App. P. 32(a)(6) because it has

        been prepared in a proportionally spaced typeface with serifs using Microsoft Word,

        Times New Roman, 14-point font.



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                                                 25
USCA4 Appeal: 24-2073     Doc: 18       Filed: 02/20/2025    Pg: 33 of 33




                                    CERTIFICATE OF SERVICE

              In accordance with Rule 25 of the Federal Rules of Appellate Procedure and

        the Local Rules of the Fourth Circuit Court of Appeals, I hereby certify that on this

        20th day of February, 2025, I electronically filed the foregoing brief with the Clerk

        of the Court using the CM/ECF system, which will send notification of such filing

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                                                 26
